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 4   Attorney for Defendant
     JIMMIE PERRYMAN
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:08-CR-0197 GEB
11                                  Plaintiff,          STIPULATION AND [PROPOSED]
                                                        ORDER TO CONTINUE STATUS
12          vs.                                         CONFERENCE, AND TO EXCLUDE
                                                        TIME PURSUANT TO THE SPEEDY
13   JIMMIE PERRYMAN,                                   TRIAL ACT
14                                  Defendant.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd Leras, Assistant United States Attorney, attorney for plaintiff; and
18   Michael E. Hansen, attorney for defendant Jimmie Perryman, that the previously-scheduled
19   status conference date of October 21, 2011, be vacated and the matter set for status conference
20   on December 2, 2011, at 9:00 a.m..
21          This continuance is requested to allow counsel additional time to review discovery with
22   the defendant, to examine possible defenses and to continue investigating the facts of the case.
23   Also, approximately 300 pages of additional discovery are expected to be produced by the U.S.
24   Attorney in the near future.
25          The Government concurs with this request.
26          Further, the parties agree and stipulate the ends of justice served by the granting of such
27   a continuance outweigh the best interests of the public and the defendant in a speedy trial and
28   that time within which the trial of this case must be commenced under the Speedy Trial Act


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 1   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 2   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’
 3   stipulation, October 19, 2011, to and including December 2, 2011.
 4           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5           IT IS SO STIPULATED.
 6   Dated: October 19, 2011                               Respectfully submitted,
 7                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 8                                                         Attorney for Defendant
                                                           JIMMIE PERRYMAN
 9
     Dated: October 19, 2011                               BENJAMIN B. WAGNER
10                                                         United States Attorney
11                                                         By: /s/ Michael E. Hansen for
                                                           TODD LERAS
12                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
13
14                                       [PROPOSED] ORDER
15           The Court, having received, read, and considered the stipulation of the parties, and
16   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
17   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
18   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
19   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
20   specifically finds that the failure to grant a continuance in this case would deny defense
21   counsel to this stipulation reasonable time necessary for effective preparation, taking into
22   account the exercise of due diligence. The Court finds that the ends of justice to be served by
23   granting the requested continuance outweigh the best interests of the public and the defendants
24   in a speedy trial.
25           The Court orders that the time from the date of the parties’ stipulation, October 19,
26   2011, to and including December 2, 2011, shall be excluded from computation of time within
27   which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
28   U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to


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 1   prepare). It is further ordered that the October 21, 2011, status conference shall be continued
 2   until December 2, 2011, at 9:00 a.m.
 3          IT IS SO ORDERED.
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 5
            Dated: October 20, 2011
 6                                           GARLAND E. BURRELL, JR.
                                             United States District Judge
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     Stipulation and [Proposed] Order to Continue Status Conference
